                         NUMBER 13-22-00459-CR

                            COURT OF APPEALS

                  THIRTEENTH DISTRICT OF TEXAS

                     CORPUS CHRISTI – EDINBURG


JUAN YENELL VAZQUEZ,                                                     Appellant,

                                             v.

THE STATE OF TEXAS,                                                       Appellee.


             ON APPEAL FROM THE 36TH DISTRICT COURT
                 OF SAN PATRICIO COUNTY, TEXAS


                         MEMORANDUM OPINION

    Before Chief Justice Contreras and Justices Longoria and Peña
              Memorandum Opinion by Justice Longoria

      Appellant Juan Yenell Vazquez pleaded guilty to assault family violence by

impeding the normal breathing and circulation of blood by applying pressure to the

complainant’s throat or neck or blocking the nose or mouth, a third-degree felony. See

TEX. PENAL CODE ANN. § 22.01(b)(2)(B). The trial court adjudicated appellant guilty and
placed him on community supervision for a period of five years. The State of Texas moved

to revoke appellant’s community supervision, alleging seventeen violations of the

conditions of his community supervision. At the hearing on the State’s motion to revoke,

appellant pleaded true to three of the violations. The trial court found that appellant

violated the terms and conditions of his community supervision, revoked his community

supervision, and sentenced him to five years’ incarceration. Appellant’s court-appointed

counsel has filed an Anders brief stating that there are no arguable grounds for appeal.

See Anders v. California, 386 U.S. 738, 744 (1967). We affirm as modified.

                                   I.     ANDERS BRIEF

       Pursuant to Anders v. California, appellant’s court-appointed appellate counsel

filed a brief and a motion to withdraw with this Court, stating that his review of the record

yielded no grounds of reversible error upon which an appeal could be predicated. See id.
Counsel’s brief meets the requirements of Anders as it presents a professional evaluation

demonstrating why there are no arguable grounds to advance on appeal. See In re

Schulman, 252 S.W.3d 403, 406 n.9 (Tex. Crim. App. 2008) (orig. proceeding) (“In Texas,

an Anders brief need not specifically advance ‘arguable’ points of error if counsel finds

none, but it must provide record references to the facts and procedural history and set

out pertinent legal authorities.” (citing Hawkins v. State, 112 S.W.3d 340, 343–44 (Tex.

App.—Corpus Christi–Edinburg 2003, no pet.))); Stafford v. State, 813 S.W.2d 503, 510

n.3 (Tex. Crim. App. 1991).

       In compliance with High v. State, 573 S.W.2d 807, 813 (Tex. Crim. App. [Panel

Op.] 1978) and Kelly v. State, 436 S.W.3d 313, 319–22 (Tex. Crim. App. 2014),


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appellant’s counsel carefully discussed why, under controlling authority, there is no

reversible error in the trial court’s judgment. Appellant’s counsel also informed this Court

in writing that he: (1) notified appellant that counsel has filed an Anders brief and a motion

to withdraw; (2) provided appellant with copies of both pleadings; (3) informed appellant

of his rights to file a pro se response, to review the record prior to filing that response,

and to seek discretionary review if we conclude that the appeal is frivolous; and

(4) provided appellant with a form motion for pro se access to the appellate record that

only requires appellant’s signature and date with instructions to file the motion within ten

days. See Anders, 386 U.S. at 744; Kelly, 436 S.W.3d at 319–20; see also In re

Schulman, 252 S.W.3d at 408–09. Appellant did not file a pro se response.

                                II.          INDEPENDENT REVIEW

       Upon receiving an Anders brief, we must conduct a full examination of all the

proceedings to determine whether the case is wholly frivolous. Penson v. Ohio, 488 U.S.

75, 80 (1988). We have reviewed the record and counsel’s brief, and we have found

nothing that would arguably support an appeal. See Bledsoe v. State, 178 S.W.3d 824,

827–28 (Tex. Crim. App. 2005) (“Due to the nature of Anders briefs, by indicating in the

opinion that it considered the issues raised in the briefs and reviewed the record for

reversible error but found none, the court of appeals met the requirements of Texas Rule

of Appellate Procedure 47.1.”); Stafford, 813 S.W.2d at 511.

                                      III.      MODIFICATION

       In the appellate brief, counsel notes that modification of the judgment may be

necessary to correct the cumulation order stacking appellant’s sentences. Counsel


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suggests that, in order to properly cumulate appellant’s sentence with one previously

imposed in a separate case, the order must include: (1) the cause number of the prior

conviction, (2) the correct name of the court in which the prior conviction occurred, (3) the

date of the prior conviction, and (4) the term of years assessed in the prior case. See

Phillips v. State, 488 S.W.2d 97, 99–100 (Tex. Crim. App. 1972). However, a valid

cumulation order need only be sufficiently specific to allow the Texas Department of

Criminal Justice (TDCJ) to identify the prior conviction with which the newer conviction is

cumulated. See Ex parte San Migel, 973 S.W.2d 310, 311 (Tex. Crim. App. 1998) (citing

Ward v. State, 523 S.W.2d 681, 682–83 (Tex. Crim. App. 1975)). The judgment revoking

community supervision states that appellant’s five-year sentence “shall run consecutively

with: D-1-DC-19-300869.” While the judgment contains a unique cause number, it does

not specify that the case is out of Travis County, thereby allowing the TDJC to identify the

prior conviction. See id. This court has the authority to modify the judgment of the court

below to make the record speak the truth when we have the necessary information to do

so. TEX. R. APP. P. 43.2(b). Bigley v. State, 865 S.W.2d 26, 27-28 (Tex. Crim. App. 1993);

Herrera v. State, 546 S.W.3d 922, 929 (Tex. App.—Amarillo 2018, no pet.). Here, the

record reflects that the prior conviction was for possession of a prohibited weapon in

Travis County. Accordingly, we modify the judgment to state that appellant’s five-year

sentence “shall run consecutively with: Travis County Cause Number D-1-DC-19-

300869.” See Mitchell v. State, 653 S.W.3d 295, 297 (Tex. App.—Texarkana 2022, no

pet.) (“However, appellate courts are authorized to reform judgments and affirm as

modified in Anders cases involving non-reversible error.”); see also Gaston v. State, 63


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S.W.3d 893, 900–01 (Tex. App.—Dallas 2001, no pet.).

                                     III.     MOTION TO WITHDRAW

        In accordance with Anders, appellant’s counsel has asked this Court for

permission to withdraw as counsel. See Anders, 386 U.S. at 744; see also In re

Schulman, 252 S.W.3d at 408 n.17. We grant counsel’s motion to withdraw. Within five

days from the date of this Court’s opinion, counsel is ordered to send a copy of this opinion

and this Court’s judgment to appellant and to advise him of his right to file a petition for

discretionary review. 1 See TEX. R. APP. P. 48.4; see also In re Schulman, 252 S.W.3d at
411 n.35; Ex parte Owens, 206 S.W.3d 670, 673 (Tex. Crim. App. 2006).

                                            IV.     CONCLUSION

        We affirm the trial court’s judgment as modified.

                                                                             NORA L. LONGORIA
                                                                             Justice

Do not publish.
TEX. R. APP. P. 47.2 (b).

Delivered and filed on the
22nd day of August, 2024.




         1 No substitute counsel will be appointed. Should appellant wish to seek further review of this case

by the Texas Court of Criminal Appeals, he must either retain an attorney to file a petition for discretionary
review or file a pro se petition for discretionary review. Any petition for discretionary review must be filed
within thirty days from the date of either this opinion or the last timely motion for rehearing or timely motion
for en banc reconsideration that was overruled by this Court. See TEX. R. APP. P. 68.2. Any petition for
discretionary review must be filed with the Clerk of the Texas Court of Criminal Appeals. See id. R. 68.3.
Any petition for discretionary review should comply with the requirements of Texas Rule of Appellate
Procedure 68.4. See id. R. 68.4.

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